     DAN RAYFIELD
     Attorney General
     DREW K. BAUMCHEN, #045032
     Senior Assistant Attorney General
     Department of Justice
     100 SW Market Street
     Portland, OR 97201
     Telephone: (971) 673-1880
     Fax: (971) 673-5000
     Email: Drew.Baumchen@doj.oregon.gov

     Attorneys for State Defendants

                                   IN THE UNITED STATES DISTRICT COURT

                                       FOR THE DISTRICT OF OREGON


     MARK A. MELEASON, Personal                              Case No. 6:25-cv-00232-MTK
     Representative of the Estate of MARGANNE
     M. ALLEN, Deceased,                                     STATE DEFENDANTS' MOTION
                                                             TO DISMISS
                      Plaintiff,

              v.

     UNITED STATES OF AMERICA; SAMUEL
     TROY LANDIS; DRUG ENFORCEMENT
     ADMINISTRATION (DEA); SALEM
     POLICE DEPARTMENT; CITY OF SALEM;
     STATE OF OREGON; OREGON STATE
     POLICE; and OREGON DEPARTMENT OF
     JUSTICE,

                      Defendants.
                                             LR 7-1 Certification

              A good faith effort to resolve the issues presented herein was made through telephone

     and email communications with plaintiff’s counsel. Plaintiff opposes these motions.

                                          MOTIONS TO DISMISS

              Defendants State of Oregon, Oregon State Police, and the Oregon Department of Justice

     (“State Defendants”) move to dismiss plaintiff’s claims against them based on 11th

     Amendment/sovereign immunity. The Oregon Department of Justice also moves to dismiss for

     failure to state a claim against it, particularly, under Fed. R. Civ. P. 12(b)(6).
Page 1 -   STATE DEFENDANTS' MOTION TO DISMISS
           DB7/kt3/985169239
                                                     Department of Justice
                                                    100 SW Market Street
                                                      Portland, OR 97201
                                             (971) 673-1880 / Fax: (971) 673-5000
                                         MEMORANDUM OF LAW

              The states are not subject to state law tort actions in federal courts under 11th Amendment

     immunity, which is really a function of the states’ sovereign immunity. Seminole Tribe of

     Florida v. Florida, 517 U.S. 44, 54 (1996); Alden v. Maine, 527 U.S. 706, 729 (1999).

              The immunity extends not only to the state itself but also to “arms” of the state. Kohn v.

     State Bar of California, 87 F.4th 1021, 1026-27 (2023). There can be no reasonable dispute that

     the Oregon State Police and Oregon Department of Justice are arms of the State of Oregon. Id.

     at 1030 (setting forth three-factor test).
              Separately, the Oregon Department of Justice (ODOJ) also moves to dismiss for failure to

     state a claim. Although ODOJ is listed as a defendant in the caption of the complaint, there is

     not a single allegation against ODOJ. This falls well short of the “plausible grounds” pleading

     standards required by Fed. R. Civ. P. 8(a)(2). Bell Atlantic Corp. v. Twombly, 550 U.S. 544,

     555-57 (2007).



              DATED March 14, 2025.

                                                            Respectfully submitted,

                                                            DAN RAYFIELD
                                                            Attorney General

                                                                s/ Drew K. Baumchen
                                                            DREW K. BAUMCHEN, #045032
                                                            Senior Assistant Attorney General
                                                            Trial Attorney
                                                            Tel (971) 673-1880
                                                            Fax (971) 673-5000
                                                            Drew.Baumchen@doj.oregon.gov
                                                            Attorneys for State Defendants




Page 2 -   STATE DEFENDANTS' MOTION TO DISMISS
           DB7/kt3/985169239
                                                      Department of Justice
                                                     100 SW Market Street
                                                       Portland, OR 97201
                                              (971) 673-1880 / Fax: (971) 673-5000
                                   CERTIFICATE OF SERVICE

              I certify that on March 14, 2025, I served the foregoing STATE DEFENDANTS’

     MOTION TO DISMISS upon the parties hereto by the method indicated below, and addressed to

     the following:

             Brian Neil Lathen                                     HAND DELIVERY
             3040 Commercial Street SE                             MAIL DELIVERY
             Suite 200                                             OVERNIGHT MAIL
             Salem, OR 97302                                       TELECOPY (FAX)
               Attorney for Plaintiff                              E-MAIL
                                                                 X E-SERVE




                                                           s/ Drew K. Baumchen
                                                       DREW K. BAUMCHEN, #045032
                                                       Senior Assistant Attorney General
                                                       Trial Attorney
                                                       Tel (971) 673-1880
                                                       Fax (971) 673-5000
                                                       Drew.Baumchen@doj.oregon.gov
                                                       Attorneys for State Defendants




Page 3 -   STATE DEFENDANTS' MOTION TO DISMISS
           DB7/kt3/985169239
                                                 Department of Justice
                                                100 SW Market Street
                                                  Portland, OR 97201
                                         (971) 673-1880 / Fax: (971) 673-5000
